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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                            GREENWOOD DIVISION

UNITED STATES OF AMERICA                 )     CRIMINAL NO. 8:18-750-DCC
                                         )
             v.                          )
                                         )
CHARLENE BRACH                           )        MOTION FOR CONTINUANCE



      The attorneys for the United States move for an Order continuing the trial of this

case until January 2020. The basis for this motion is that the defendant signed a written

Pretrial Diversion Agreement on December 12, 2018, which provides that prosecution will

be deferred by the attorney for the Government for a period of 12 months for the purpose

of allowing the defendant to demonstrate good conduct.

                                         Respectfully submitted,

                                         SHERRI A. LYDON
                                         UNITED STATES ATTORNEY


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